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MOUNTAIN SUPPORT SERVICES
Conspicuous Service

 

#130353"
UNITED STATES DISTRICT COURT: EASTERN Index no :23-CV-332
DISTRICT OF NEW YORK Office Job No: ISM22-16NY-02
AFFIDAVIT OF SERVICE
Plaintiff(s): INNOVATIVE SPORTS MANAGEMENT, INC. D/B/A INTEGRATED SPORTS
MEDIA,
Defendant(s): JESSENIA BURGOS, ET AL

 

 

STATE OF NEW YORK COUNTY OF QUEENS 8$.i

YEHIA KOZMOL, the undersigned, being duly swom, deposes and says:
I am over the age of eighteen years old and am not a party to this action. I reside in the State of New York, County of

Richmond.

On 02/11/2023 at 8:46 AM, at 139-51 PERISHING CRESCENT, JAMAICA, NY 11435, deponent attempted to
make personal service of a true copy of the SUMMONS IN A CIVIL ACTION (DATED 1/20/2023 AND FILED
1/20/2023); PLAINTIFF'S ORIGINAL COMPLAINT (FILED 1/18/2023); CIVIL COVER SHEET;
CORPORATE DISCLOSURE STATEMENT AND REFERENCE OF A CIVIL ACTION TO A
MAGISTRATE JUDGE; TEXT ONLY- CASE ASSIGNMENT in the above entitled action upon JESSENIA

BRUGOS the Defendant(s) therein named.

Deponent made prior attempts to effect personal service upon the said Defendant(s) at the aforementioned address to
wit: 02/01/2023 at 3:33 PM, 02/09/2023 at 7:10 PM, 02/10/2023 at 10:21 AM, 02/11/2023 at 8:46 AM.

That personal service could not be made with due diligence upon the said Defendant(s) and therefore deponent on
02/11/2023 at 8:46 AM at the aforementioned address, served a true copy of the aforementioned document(s} herein
upon the said Defendant(s), JESSENIA BRUGOS by affixing same to the door of Defendant(s), said residence,
since admittance could not be obtained upon reasonable application or a person of suitable age and discretion found

who would receive same, true copies thereof.

See attached AFFIDAVIT OF REQUIRED MAILING(S) that completes service.

De
Sworn to and subscribed before me on x /

2Q / > License#: 4735-DCA
} oO Reliant 26urt Services, Inc.
2923 3275 Veterans Hwy., Ste. B-12
Notary Public, Ronkonkoma, NY 11779
NYC DCWP Process Serving Agency Lic.#: 1382164-DCA

] hae

AMES LOUIS TORTORELL}
Notary Public, State of New York
No. 01706072811
Qualified in Suffolk County

Commission Expires April 18, 2028

   

 

 
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Conspicuous Service

 

#130553%
UNITED STATES DISTRICT COURT: EASTERN Index no :23-CV-332
DISTRICT OF NEW YORK Office Job No: ISM22-16NY-02
AFFIDAVIT OF REQUIRED MAILING(S)
Plaintiff(s): INNOVATIVE SPORTS MANAGEMENT, INC. D/B/A INTEGRATED SPORTS
MEDIA,
Defendant(s): JESSENIA BURGOS, ET AL

 

 

STATE OF NEW YORK COUNTY OF SUFFOLK 88.

Adam Muhleman, the undersigned, being duly sworn, deposes and says:
I am over the age of 18 years and not a party to this action. I reside in the state of New York.

On 02/13/2023, to complete said affixing to door and mailing service upon JESSENIA BRUGOS, Defendant(s}, your
deponent sent a true copy of the SUMMONS IN A CIVIL ACTION (DATED 1/20/2023 AND FILED 1/26/2023);
PLAINTIFF'S ORIGINAL COMPLAINT (FILED 1/18/2023); CIVIL COVER SHEET: CORPORATE
DISCLOSURE STATEMENT AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE;
TEXT ONLY- CASE ASSIGNMENT in the within action by First Class Mail to JESSENIA BRUGOS,
Defendant(s), properly enclosed in a postage paid envelope addressed to said Defendant(s) at Defendant(s)'s last known

address located at 139-51 PERISHING CRESCENT, JAMAICA, NY 11435.

Said copy(s) were mailed bearing the legend "PERSONAL AND CONFIDENTIAL." and not indicating on the outside
thereof, by return address or otherwise, that the communication is from an attorney or concems an action against the
Defendant(s). Your deponent deposited said envelope in an official depository under the exclusive care and custody of

the United States Postal Service.

Sworn to and subscribed before me on x Lip

Adam Muhleman

   

Reliant’ Court Services, Inc.
2/73 Re? 3275 Veterans Hwy., Ste. B-12
, Ronkonkoma,NY 11779
Notary Public, NYC DCWP Process Serving Agency Lic.#: 1382164-DCA
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Notary P New York

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